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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                                            CASE NUMBER:
 Netflix Studios, LLC, et al.
                                                            CV 18-230-MWF(ASx)
                                             Plaintiff(s)
                             v.

                                                                     ORDER/REFERRAL TO ADR
 Dragon Media Inc., et al.
                                           Defendant(s).


  The Court, having considered the parties’ Request: ADR Procedure Selection, the Notice to Parties of
Court-Directed ADR Program, or the report submitted by the parties pursuant to Fed. R. Civ. P. 26(f)
and Civil L.R. 26-1, hereby:

    ORDERS this case referred to:

    G ADR PROCEDURE NO. 1: (G district judge or G magistrate judge assigned to the case
         for such settlement proceedings as the judge may conduct or direct).

    X ADR PROCEDURE NO. 2: This case is referred to the ADR Program. Within twenty-
         one (21) days, plaintiff shall obtain the consent of a neutral listed on the Court’s
         Mediation Panel who will conduct the mediation, and file form ADR-2, Stipulation
         Regarding Selection of Panel Mediator. If the parties have not selected and obtained the
         consent of a Panel Mediator within twenty-one (21) days, the ADR Program (213-894-
         2993) will assign one. Forms and a list of the Panel Mediators are available on the Court
         website, www.cacd.uscourts.gov. Absent extraordinary circumstances, parties cannot
         request a continuance within three (3) business days of a scheduled mediation.

    OR           X ADR PROCEDURE NO. 3: (Private mediation) if ALL parties agree.

     The ADR proceeding is to be completed no later than: February 15, 2019

     The Court further sets a status conference for:

   For ADR Procedure Nos. 1 and 3, counsel are responsible for contacting the judge or private
mediator at the appropriate time to arrange for further proceedings.


Dated:           June 11, 2018
                                                     United States District Judge




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